Case 4:14-cv-00704-GKF-JFJ Document 321-1 Filed in USDC ND/OK on 11/02/21 Page 1 of 14




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF OKLAHOMA

    UNITED STATES OF AMERICA, and       )
    THE OSAGE MINERALS COUNCIL,         )
                                        )
                Plaintiffs,             )
                                        )
    vs.                                 )    Case No. 14-CV-704-GKF-JFJ
                                        )
    OSAGE WIND, LLC;                    )
    ENEL KANSAS, LLC; and               )
    ENEL GREEN POWER NORTH              )
    AMERICA, INC.,                      )
                                        )
                Defendants.             )

                DEFENDANTS’ RESPONSE TO PLAINTIFF THE UNITED
               STATES’ MOTION FOR SUMMARY JUDGMENT [Dkt. # 300]




                              EXHIBIT 1
CaseBill Moskaluk
    4:14-cv-00704-GKF-JFJ          6/16/2021
                          Document 321-1 Filed in USDC ND/OK on 11/02/21 Page 21 of 14

      1               IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OKLAHOMA
      2
           UNITED STATES OF AMERICA,
      3

      4                Plaintiff,

      5    and

      6    OSAGE MINERALS COUNCIL,

      7                Intervenor-Plaintiff,
           vs.                             No. 14-CV-704-GFK-JFJ
      8
           OSAGE WIND, LLC; ENEL KANSAS,
      9    LLC; and ENEL GREEN POWER
           NORTH AMERICA,
     10

     11                Defendants.

     12    VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF BILL MOSKALUK
                      TAKEN ON BEHALF OF THE PLAINTIFF
     13                ON JUNE 16, 2021 AT 10:00 A.M.

     14                              APPEARANCES

     15    On behalf of the PLAINTIFF:
           Stuart Ashworth
     16    Cathryn D. McClanahan
           Nolan Fields
     17    UNITED STATES ATTORNEY'S OFFICE
           Northern District of Oklahoma
     18    110 West 7th Street, Suite 300
           Tulsa, Oklahoma 74119
     19    918.382.2700
           stuart.ashworth@sol.doi.gov
     20

     21    (Appearances continued on the following page)

     22    ALSO PRESENT:      Megan Beauregard, Michelle Hammock, &

     23    Christina Watson

     24    VIDEOTAPED BY:      Megan Smith

     25    REPORTED BY:       Abby Rhodes, CSR, RPR
CaseBill Moskaluk
    4:14-cv-00704-GKF-JFJ          6/16/2021
                          Document 321-1 Filed in USDC ND/OK on 11/02/21 Page39
                                                                              3 of 14

      1          A     At that time, probably so, yes.

      2          Q     Okay.    Do you -- do you know now, right now

      3    as we speak?

      4          A     I don't recall what the issues were but...

      5          Q     Okay.    And again, it seems like this is the

      6    day before excavation work would have started, and you

      7    don't know what the issues -- issues that would have

      8    been discussed here?

      9          A     No, I really don't recall.

     10          Q     Okay.    We're going to go back to your

     11    declaration and we're going to go to paragraph 15

     12    under A, little I, I'm going to actually let you read

     13    this to yourself and let me know when you're done.

     14          A     Okay.

     15          Q     You're making this, the declaration, the

     16    statement in this section because you wanted the Court

     17    to know about the excavation process in the case; is

     18    that correct?

     19          A     Yes.

     20          Q     Okay.    In fact, you believe that by telling

     21    the Court about the excavation process, you were

     22    somehow trying to be helpful to defeat the U.S.'s

     23    request for injunction in the case; is that right?

     24                MR. RAY:    Object to form.

     25                THE WITNESS:     Now, say that again.
CaseBill Moskaluk
    4:14-cv-00704-GKF-JFJ          6/16/2021
                          Document 321-1 Filed in USDC ND/OK on 11/02/21 Page40
                                                                              4 of 14

      1          Q     (By Mr. Ashworth) Sure.

      2                By -- by making your statement here, by

      3    informing the Court about the excavation process,

      4    you're trying to be helpful to -- you know, in

      5    opposition to the U.S.'s request for injunction; is

      6    that right?

      7                MR. RAY:    Same objection.

      8                THE WITNESS:     I'm not sure.      At that time, I

      9    think I was just basically explaining the excavation

     10    process on foundations, nothing to do with anything

     11    else.

     12          Q     (By Mr. Ashworth) Sure.

     13                Do you believe that everything within this

     14    section is accurate, an accurate -- accurately

     15    reflects the excavation for foundation in the case,

     16    for the foundation in the case?

     17          A     To the best of my knowledge, yes.

     18          Q     Okay.    Nowhere in this section did you

     19    inform about the significant amount of blasting that

     20    was taking place at the time; is that correct?

     21          A     This was prior to the blasting.

     22          Q     I'm sorry, when did the blasting take place?

     23          A     I'm not sure of the specific date, but

     24    everybody that was involved with the blasting of these

     25    excavations were relying on a document that was put
CaseBill Moskaluk
    4:14-cv-00704-GKF-JFJ          6/16/2021
                          Document 321-1 Filed in USDC ND/OK on 11/02/21 Page67
                                                                              5 of 14

      1    don't know.

      2                As I stated before, you can use this

      3    material if we didn't have the restrictions in place.

      4    This is just a -- like a boilerplate type requirement

      5    on the project.

      6          Q     Okay.    So when you say this is a boilerplate

      7    requirement for the project, are you indicating that

      8    it's kind of a loose requirement that doesn't have to

      9    be filled -- followed?

     10                MR. RAY:    Object to form.

     11                THE WITNESS:     I don't think it was intended

     12    to be followed, actually, because of the restrictions

     13    that we had.     Other than that, I -- I don't really

     14    know.

     15          Q     (By Mr. Ashworth) Okay.        But nowhere in your

     16    declaration did you indicate that there was a scope of

     17    work that would have allowed the crushed rock to be

     18    used for something other than backfill?

     19                MR. RAY:    Object to form.

     20                THE WITNESS:     Yes.

     21          Q     (By Mr. Ashworth) Okay.        We're going to go

     22    to subparagraph, it's little numeral -- numeral

     23    number -- or I'm sorry, numeral five which is on page

     24    5.   Oh, I'm sorry, it's declaration.         Page 5, little

     25    numeral five.     One page down.      In this section, I'm
CaseBill Moskaluk
    4:14-cv-00704-GKF-JFJ          6/16/2021
                          Document 321-1 Filed in USDC ND/OK on 11/02/21 Page69
                                                                              6 of 14

      1    correct?

      2          A     The backfill material was for the structural

      3    support.    The other area was for drainage that we

      4    built up draining it away from the turbine itself, and

      5    a portion of that in that little access road and apron

      6    around the terminal -- around the turbine, but it

      7    didn't leave that particular site, to my knowledge.

      8          Q     Did you tell the Court that the material is

      9    being used for structural support in your declaration?

     10                MR. RAY:    Object to form.

     11                THE WITNESS:     I don't think so, no.

     12          Q     (By Mr. Ashworth) Do you think it would have

     13    been important for the Court to know that Enel Green

     14    and Osage Wind was using the backfill material for

     15    structural support?

     16                MR. RAY:    Object to form.

     17                THE WITNESS:     I -- I don't know the answer

     18    to that.

     19          Q     (By Mr. Ashworth) Okay.        Let me re-ask it

     20    this way:    Do you know if it would have been important

     21    for the Court to know that the materials that were

     22    excavated on site was being used for structural

     23    support for the wind tower?

     24                MR. RAY:    Object to form.

     25                THE WITNESS:     I -- I don't -- I don't know
CaseBill Moskaluk
    4:14-cv-00704-GKF-JFJ          6/16/2021
                          Document 321-1 Filed in USDC ND/OK on 11/02/21 Page69
                                                                              7 of 14

      1    correct?

      2          A     The backfill material was for the structural

      3    support.    The other area was for drainage that we

      4    built up draining it away from the turbine itself, and

      5    a portion of that in that little access road and apron

      6    around the terminal -- around the turbine, but it

      7    didn't leave that particular site, to my knowledge.

      8          Q     Did you tell the Court that the material is

      9    being used for structural support in your declaration?

     10                MR. RAY:    Object to form.

     11                THE WITNESS:     I don't think so, no.

     12          Q     (By Mr. Ashworth) Do you think it would have

     13    been important for the Court to know that Enel Green

     14    and Osage Wind was using the backfill material for

     15    structural support?

     16                MR. RAY:    Object to form.

     17                THE WITNESS:     I -- I don't know the answer

     18    to that.

     19          Q     (By Mr. Ashworth) Okay.        Let me re-ask it

     20    this way:    Do you know if it would have been important

     21    for the Court to know that the materials that were

     22    excavated on site was being used for structural

     23    support for the wind tower?

     24                MR. RAY:    Object to form.

     25                THE WITNESS:     I -- I don't -- I don't know
CaseBill Moskaluk
    4:14-cv-00704-GKF-JFJ          6/16/2021
                          Document 321-1 Filed in USDC ND/OK on 11/02/21 Page70
                                                                              8 of 14

      1    that answer.

      2          Q     (By Mr. Ashworth) Okay.        Is the reason why

      3    you failed to tell the Court in your declaration that

      4    the purpose for the excavated material to be used was

      5    for structural support?       Is that reason -- scratch

      6    that.

      7                Is the reason why you said that -- did not

      8    say that was to help Enel Green defeat the request for

      9    injunction?

     10          A     I don't --

     11                MR. RAY:    Object to form.

     12                THE WITNESS:     I don't think that was the

     13    intent, no.

     14          Q     (By Mr. Ashworth) Okay.        Under the --

     15    paragraph underneath there, right under the page, it

     16    says "No excavated rock or sand is sold or used for

     17    commercial purposes."

     18                Is that -- was that a correct statement?

     19          A     Yes.

     20          Q     Okay.    You separate sold and commercial

     21    purposes.

     22                When you're saying not used for commercial

     23    purposes, are you meaning that the rock and sand were

     24    not being used to advance any economic purpose of Enel

     25    Green?
CaseBill Moskaluk
    4:14-cv-00704-GKF-JFJ          6/16/2021
                          Document 321-1                                    138
                                         Filed in USDC ND/OK on 11/02/21 Page 9 of 14

      1          Q     No worries.

      2                I said how would you define a borrow pit?

      3          A     Material where I could take material out of

      4    and use for around the project.

      5          Q     And is it typical to have a borrow pit on

      6    site during the construction of a wind farm?

      7          A     It's always a nicety.       It --

      8          Q     Do you -- oh, go ahead.

      9          A     It will save you a lot of costs in trucking

     10    if it -- if it was right there on site.

     11          Q     Is that something that you would normally

     12    expect the -- the subcontractor, for instance in this

     13    case IEA, to create as a part of their work in -- in

     14    constructing the wind farm?

     15          A     No.    I think it has to be designated ahead

     16    of time, the borrow areas on the project site.

     17          Q     Do you know, were there borrow pits used or

     18    created for -- for this construction, for the

     19    construction of the Osage Wind farm?

     20          A     No.

     21          Q     Do you --

     22          A     I --

     23          Q     Go ahead.

     24          A     -- I don't think we had one.

     25          Q     Was that a decision -- was the decision to
CaseBill Moskaluk
     4:14-cv-00704-GKF-JFJ Document 6/16/2021                               14110 of
                                    321-1 Filed in USDC ND/OK on 11/02/21 Page
                                        14
      1   remove ANY soil from the project site or use site

      2   materials in lieu of materials we would typically buy

      3   off site in developing a wind project.           Osage Nation

      4   has mineral rights for the project lands and removal

      5   of soil especially for commercial gain could

      6   constitute mining."

      7                Is that -- so I'm just reading there from

      8   Aaron's e-mail.      Is that -- does Aaron's statement

      9   here, is that in accordance or does that agree with

    10    your understanding of what the restrictions were at

    11    the time of construction of the Osage Wind farm?

    12                 MR. RAY:    Object to form.

    13                 THE WITNESS:     Yes.

    14          Q      (By Ms. Nagle) And I know you're not copied

    15    on this e-mail, but did -- did anyone ever communicate

    16    that to you?

    17          A      Communicated it, yes.       Yes, they have.

    18          Q      Do you remember -- oh, sorry.         Go ahead.

    19          A      Yeah, it -- it was Bill Price who -- who

    20    told me that.      He wanted to make sure that I knew that

    21    I was not to remove any materials from site in any

    22    manner or form.      I knew that.

    23          Q      And did Bill Price tell you that we -- that

    24    you were also not to use site materials in lieu of

    25    materials that could be bought or purchased off site?
CaseBill Moskaluk
     4:14-cv-00704-GKF-JFJ Document 6/16/2021                               14211 of
                                    321-1 Filed in USDC ND/OK on 11/02/21 Page
                                        14
      1         A      No, he did not.

      2         Q      He did not tell you that.        Okay.

      3                Now, further on down in this e-mail from

      4   Aaron Weigel, he writes "Please make sure this message

      5   is widely communicated to any subcontractors working

      6   on the project."

      7                Do you recall anyone at EGPNA asking you to

      8   communicate, make sure that the folks at IEA

      9   understood the message that Aaron Weigel is sharing

    10    here in this e-mail?

    11          A      No.

    12          Q      Okay.   Do you have any memory of anyone at

    13    EGPNA, other than Bill Price, communicating to you

    14    that it was important to not use the site materials in

    15    lieu of materials that could be purchased off site?

    16          A      No.

    17          Q      Okay.   Now, I think earlier you did mention

    18    that one of the restrictions you understood at the

    19    time was that you were not allowed to take site

    20    materials and -- and move them across the wind farm

    21    and use them elsewhere.

    22                 Can you explain to me -- is that -- is that

    23    a correct understanding of what you understood to be

    24    the limitation at the time?

    25          A      Yes, it -- all the material that we, say,
CaseBill Moskaluk
     4:14-cv-00704-GKF-JFJ Document 6/16/2021                               14312 of
                                    321-1 Filed in USDC ND/OK on 11/02/21 Page
                                        14
      1   excavated from the turbine site or that particular

      2   turbine site had to remain right there.            I couldn't

      3   use that material any place on the job site other than

      4   that hole.

      5         Q      So your understanding was you -- you -- you

      6   could take the minerals out of the ground, but you had

      7   to put them right back where you got them; is that

      8   correct?

      9         A      Correct.

    10          Q      Was your understanding that it was

    11    permissible for EGPNA to -- to do that and crush the

    12    materials before putting them back in the ground?

    13          A      I caught a little bit of that but I didn't

    14    really understand --

    15          Q      Sure.

    16          A      -- the last part.

    17          Q      So I guess let me rephrase and ask a better

    18    question.

    19                 Did anyone ever express to you, anyone from

    20    EGPNA ever express to you any limitations on rock

    21    crushing?

    22          A      No.

    23          Q      Okay.   Let's see here.      Okay.    So I'm now

    24    going to show you a different document so if you'll

    25    give me just a second to pull that up.            I'm going to
CaseBill Moskaluk
     4:14-cv-00704-GKF-JFJ Document 6/16/2021                               14513 of
                                    321-1 Filed in USDC ND/OK on 11/02/21 Page
                                        14
      1   materials in lieu of materials we would typically buy

      2   off site in developing a wind project.           Osage Nation

      3   has mineral rights for the project lands and removal

      4   of soil especially for commercial gain could

      5   constitute mining."

      6                Does it -- does this sound familiar to you,

      7   this -- this statement and this understanding of what

      8   was permissible and what was not?

      9                MR. RAY:    Object to form.

    10                 THE WITNESS:     Partially, yes, but, like I

    11    said, I'm not familiar with this one, with all... any

    12    soils from the site and I never heard of using the

    13    materials in lieu of materials from -- we had

    14    typically bought off site.         I've -- I've never heard

    15    that before.

    16          Q      (By Ms. Nagle) Okay.       And did you -- did

    17    Joan Heredia ever communicate directly with you about

    18    any limitations in constructing the Osage Wind farm?

    19          A      She visited the job site I believe once and

    20    we had a conversation basically in regards to this.

    21    She asked me if I was removing any of the material off

    22    site and I said no.       She basically said, well, good.

    23          Q      Mmm-hmm.

    24                 Do you -- do you recall when that visit was,

    25    what month it would have been?
CaseBill Moskaluk
     4:14-cv-00704-GKF-JFJ Document 6/16/2021                               14814 of
                                    321-1 Filed in USDC ND/OK on 11/02/21 Page
                                        14
      1         Q      And was he with IEA?

      2         A      Yes, he was.

      3         Q      Okay.    And it looks like below, we've got

      4   this -- at the very bottom we've got this e-mail here

      5   from Brian Jensen.

      6                Do you recall who Brian Jensen was?

      7         A      Yes, he worked for Tradewinds.         In what

      8   capacity, I'm -- I'm not really sure.

      9         Q      Okay.    Did you ever interact with him while

    10    working on the Osage Wind farm?

    11          A      I might have talked to him a couple of

    12    times.    Nothing pertinent but...

    13          Q      Sure.    He writes here in his July 9, 2014,

    14    e-mail, that "And as we have discussed in the past, we

    15    will not be able to transport fill from one part of

    16    the project to another due to Osage Nation mining

    17    laws."

    18          A      Right.

    19          Q      Does that conform with your understanding of

    20    what some of the limitations were at the time of

    21    construction?

    22          A      Yes.

    23          Q      Okay.    And let's see here.      Let me keep

    24    going.    What was your understanding, though -- you

    25    told me that Steve Champagne had -- had told you that
